      Case 1:23-cv-00079-ABJ            Document 380   Filed 10/03/24   Page 1 of 11




Patrick J. Murphy, WSB No. 7-1779
Scott C. Murry, WSB No. 7-4896
WILLIAMS, PORTER, DAY & NEVILLE, P.C.
159 N. Wolcott, Ste. 400
P.O. Box 10700 (82602)
Casper, WY 82601
Email: pmurphy@wpdn.net
        smurray@wpdn.net




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF WYOMING


BCB CHEYENNE LLC d/b/a BISON                   )
BLOCKCHAIN, a Wyoming limited liability        )
Company                    .                   )
                                               )
        Plaintiffs                             )
                                               )
v.                                             )         Civil No. 23-CV-79
                                               )
MINEONE WYOMING DATA CENTER,                   )
LLC, a Delaware limited liability company;     )
MINEONE PARTNERS LLC, a Delaware               )
limited liability company; TERRA CRYPTO )
INC., a Delaware corporation; BIT ORIGIN, )
LTD, a Cayman Island Company;                  )
SONICHASH LLC, a Delaware limited              )
liability company; and JOHN DOES 1-20,         )
related persons and companies who control      )
or direct some or all of the named Defendants, )
                                               )
        Defendants.                            )


         PLAINTIFF’S BCB CHEYENNE LLC’S EXPEDITED MOTION
      TO EXTEND CERTAIN BRIEFING DEADLINES BY THREE WEEKS,
                 AS EARLIER AGREED BY ALL PARTIES


       COMES NOW Plaintiff BCB Cheyenne LLC d/b/a Bison Blockchain (“BCB”),

through its counsel Patrick J. Murphy of WILLIAMS, PORTER, DAY & NEVILLE, PC, and

                                               1
      Case 1:23-cv-00079-ABJ        Document 380       Filed 10/03/24     Page 2 of 11




hereby files this Expedited Motion for the Court to quickly extend the briefing deadlines

the Parties earlier agreed and stipulated should be extended by three weeks, but to which

the MineOne Defendants (but not Bit Origin or SonicHash) now seem to be withdrawing

their earlier agreement and motion. This is an Expedited Motion because the current

deadline for filing dispositive motions is tomorrow, October 4, 2024 and, for the reasons

articulated below, the Parties and their counsel are in no position to file their complete and

best-prepared dispositive motions by tomorrow. In support of this Expedited Motion, BCB

and its counsel show the Court as follows:

1.     This Expedited Motion is being filed with the Court at the same time BCB is filing

       its companion Expedited Motion for an Extension of Time to File an Over-Length

       Response to the MineOne Defendants’ Motion to Compel Discovery and for

       Sanctions (“First Expedited Motion”). All of the facts and arguments in BCB’s

       First Expedited Motion are incorporated by reference in this Second Expedited

       Motion. These two Expedited Motions are connected and related to each other.

2.     The specific relief BCB is asking for with this Second Expedited Motion is for the

       Court to quickly enter its Order extending the following case deadlines by three

       weeks, specifically:

       A.     The October 4, 2024 deadline to file dispositive motions to October
              25, 2024;
       B.     The October 18, 2024 deadline to file Responses to all dispositive
              motions to November 8, 2024;
       C.     The October 25, 2024 deadline to file any Reply to any dispositive
              motions to November 15, 2025;


                                              2
     Case 1:23-cv-00079-ABJ       Document 380     Filed 10/03/24    Page 3 of 11




     D.      The October 18, 2024 deadline to file other (nondispositive) motions
             to November 9, 2024;
     E.      The November 15, 2024 deadline to file the Parties’ Joint Pretrial
             Memorandum to December 6, 2024;
     F.      The November 8, 2024 deadline to file any motions in limine to
             November 29, 2024;
     G.      The November 22, 2024 deadline to file any Responses to any
             motions in limine to December 13, 2024; and
     H.      The December 2, 2024 deadline to file any Replies to any motions in
             limine to December 22, 2024.

3.   On September 10, 2024, the MineOne Defendants filed their Motion to Modify the

     Court’s April 25, 2024 Scheduling Order where they asked the Court to push back,

     by three weeks, the case deadlines articulated in Paragraph 2 above [See ECF 344

     at Page 11 of 14].

4.   Defendants Bit Origin and SonicHash joined with the MineOne Defendants in

     asking that the April 25, 2024 Revised Scheduling Order be further revised to ask

     that these briefing deadlines be extended by three weeks.

5.   Then, in its September 24, 2024 Response to the MineOne Defendants’ Motion to

     Modify, BCB and its counsel agreed that these briefing deadlines should be

     extended three weeks by the Court [ECF 372 at Pages 2 of 13 and 11 of 13]. BCB

     said:

             Plaintiff BCB agrees that each of the following existing deadlines
     should be moved back by three weeks: (i) Dispositive motions: October 4,
     2024; (ii) Responses to dispositive motions and filing of all other pretrial
     motions: October 18, 2024; (iii) Replies to dispositive motions: October 25,

                                            3
      Case 1:23-cv-00079-ABJ        Document 380    Filed 10/03/24    Page 4 of 11




       2024; (iv) Joint Final Pretrial Memorandum: November 8, 2024; and (v)
       Motions in Limine: November 8, 2024.
              All Parties also agree to keep the January 27, 2025 trial date. And
       BCB agrees with the MineOne Defendants’ representations that: (1) “On
       September 9, 2024, Judge Hambrick ordered that the [new] deadline for
       taking depositions be extended [from September 17, 2024] until September
       30, 2024,” and (2) “MineOne will conduct the depositions of the witnesses
       that have been identified by the Court’s September 30, 2024 deadline.”
       [ECF 344 at Page 4 of 14] (emphasis added). This is what should happen,
       and BCB stipulates to it.
Id. at Page 2 of 13 (emphasis in original).

6.     Then, on September 26, 2024, the Court heard the Parties’ oral arguments on

       MineOne’s Motion to Modify. The Court heard Bit Origin and SonicHash’s

       concurrence with pushing back these deadlines three weeks, and Plaintiff BCB’s

       agreement and stipulation these case deadlines should be pushed back three weeks.

       See Transcript of the Court’s 9/26/24 Motion hearing. At these oral arguments, all

       counsel asked the Court to push back these deadlines by three weeks. Id. While the

       Parties disagreed on most of the substantive matters in their September 26 oral

       arguments, they all agreed the Court should extend/push back these specific case

       deadlines by three weeks.

7.     The Court has not yet entered any Order on MineOne’s Motion to Modify the April

       25, 2024 Revised Scheduling Order. The Court’s decision on this Motion to Modify

       remains under advisement.




                                              4
      Case 1:23-cv-00079-ABJ           Document 380         Filed 10/03/24      Page 5 of 11




8.     Good cause and good reasons existed then, and still exist, for the Court to quickly

       enter its Order pushing back these specific case deadlines (articulated above in

       Paragraph 2) by three weeks.

9.     First, the Parties and their counsel do not yet have the needed facts and evidence to

       fully and meaningfully present their complete and well-written dispositive motions

       to the Court by tomorrow, October 4, 2024. BCB needs the deposition testimony

       of MineOne’s Jiaming Li and Haku Du, and BCB has specifically asked for these

       two depositions, but MineOne has not provided available dates for either Dr. Li or

       Ms. Du for their depositions. On September 9, 2024, Judge Hambrick specifically

       ordered MineOne to provide BCB with Dr. Li’s and Ms. Du’s available dates for

       their deposition “as soon as possible” [ECF 339]. (“MineOne’s counsel to provide

       availability dates for the depositions of Haku Du and Dr. Jiaming Li as soon as

       possible”).     But MineOne has never complied with Judge Hambrick’s 9/9/24

       discovery Order.       MineOne has refused to provide BCB with any dates for

       depositions of these two central fact witnesses. BCB cannot meaningfully write its

       dispositive motions without these two MineOne witnesses’ testimony.

10.    Second, BCB took the deposition of MineOne’s Erick Rengifo 1 most of the day on

       Friday, September 27. But BCB’s counsel has not yet received Dr. Rengifo’s

       deposition transcript from the court reporter, and BCB’s counsel has not had any



1
 Dr. Rengifo and Dr. Li are two of the primary decision-makers of MineOne Wyoming Data Center LLC
and Terra Crypto Inc. Their testimony is critical. They were the two men who anticipatorily repudiated
BCB’s DHS Agreement with their March 13, 2023 take-it-or-leave-it Proposal to BCB, a “Proposal” Dr.
Li earlier told Dr. Rengifo that BCB “will have no choice” but to accept.


                                                  5
      Case 1:23-cv-00079-ABJ      Document 380       Filed 10/03/24    Page 6 of 11




      opportunity to read, let alone digest, Dr. Rengifo’s extensive deposition testimony,

      or incorporate his most important testimony into a Summary Judgment

      Memorandum.

11.   Third, Patrick Murphy first received the deposition transcript of Yiliang Guo at

      11:57 a.m. Mountain on October 3, 2024.         Mr. Murphy has had no time or

      opportunity to read, let alone incorporate, the important deposition testimony of Mr.

      Guo. Mr. Guo, in his deposition, rebutted any notion that BitMain Georgia ever

      expressed any desire, to Dr. Rengifo or Dr. Li, that BitMain Georgia wanted

      MineOne to remove BCB as the host and operator in Phase 2 at North Range. BCB

      and its counsel need more time to incorporate Mr. Guo’s important testimony in any

      summary judgment memorandum.

12.   Fourth, on Sunday morning, September 29, 2024 two days after Patrick Murphy

      deposed Dr. Rengifo and one day before MineOne was going to take the deposition

      of BCB’s Emory Patterson on the September 30 deposition discovery cutoff, Ms.

      Colbath called Patrick Murphy, and spoke with Mr. Murphy, as Mr. Murphy was

      headed into 8:30 a.m. Mass at Our Lady of Fatima in Casper. Importantly, Ms.

      Colbath asked that she postpone her 9/30/24 deposition of Emory Patterson so that

      the Parties themselves – Michael Murphy for BCB and Erick Rengifo/Jiaming Li

      for the MineOne Defendants – could have face-to-face, direct settlement

      negotiations between themselves, without lawyers – to seek to settle this case.

      Patrick Murphy fully agreed with Ms. Colbath. And, later that Sunday afternoon,

      Michael Murphy and Dr. Rengifo had the first of multiple Rule 408 Zoom


                                            6
      Case 1:23-cv-00079-ABJ       Document 380      Filed 10/03/24     Page 7 of 11




      settlement meetings and negotiations. In that Sunday morning call, Ms. Colbath

      asked, and Mr. Murphy agreed, to vacate the 9/30/24 deposition of Emory Patterson

      to allow the Parties (and their counsel, behind the scenes) to devote their efforts to

      trying to seek a global settlement and resolution of everything in this litigation.

      Patrick Murphy agreed that he would provide Mr. Patterson for a deposition at a

      mutually convenient date, later in October, should the Parties not be able to reach a

      settlement in the coming week, or early next week. See “Exhibit A.” Earlier this

      week, Patrick Murphy told Paula Colbath he could provide BCB founding member

      Emory Patterson for his deposition on October 15, 2024.

13.   As noted in the companion First Expedited Motion, Michael Murphy, Emory

      Patterson, Erick Rengifo and Jiaming Li have diligently pursued their face-to-face

      Zoom settlement negotiations. Last night at 8:51 p.m. Mountain, Michael Murphy

      e-mailed Dr. Rengifo, Dr. Li and Paula Colbath with a near-complete draft of the

      written settlement agreement Michael Murphy had been drafting all day on

      Wednesday, October 2, 2024. And Michael Murphy has had three (3) follow-up

      Zoom settlement calls with Dr. Rengifo early Thursday morning, October 3, to

      discuss and continue working on the final terms of that proposed settlement

      agreement.

14.   Yet, in spite of this history, counsel for the MineOne Defendants suddenly changes

      course and seemingly will not now consent that the case deadlines in Paragraph 2

      above be extended by three weeks. Marc Gottlieb and his clients still agree these

      case deadlines should be pushed back by three weeks, but Ms. Colbath does not.


                                            7
      Case 1:23-cv-00079-ABJ        Document 380      Filed 10/03/24    Page 8 of 11




15.   Patrick Murphy has had a series of conferral e-mails with MineOne’s counsel, Paula

      Colbath, about this issue this week. Mr. Murphy has asked Ms. Colbath to please

      call Mr. Murphy to further discuss this issue, but Ms. Colbath has not called Mr.

      Murphy.

16.   When Mr. Murphy sent his final conferral e-mail to Ms. Colbath at 9:38 Mountain

      last night on this issue, Mr. Murphy wrote:

               And finally, you already agreed to the three-week push back on all the
      briefing deadlines. In fact, you proposed it! Then, in my Response, I agreed
      with it. Then, in our September 26 oral arguments, we both told/asked Judge
      Johnson to push back those deadlines by three weeks. I relied on your
      representation that those deadlines be extended three weeks. You still need
      to depose Emory Patterson (if we don’t settle). And both of us want to
      incorporate Emory’s testimony into our dispositive motions. And, despite
      Judge Hambrick’s Order, three weeks ago, that you provide me available
      dates for Jiaming’s deposition and Haku Du’s deposition, you have never
      provided me with any dates. I need their deposition testimony for BCB’s
      dispositive motions.
               Simply stated, I again ask that you please consent to us filing —
      tomorrow morning — the Stipulated Motion [and proposed Order] I sent you
      earlier today to move those briefing deadlines back by three weeks.
               Thank you, Paula.
See “Exhibit B.”

      Then Ms. Colbath wrote her e-mail reply to Patrick Murphy earlier this morning
(October 3).
               We must continue the litigation and meet our current deadlines. Trial
      preparation must continue, as the clock is ticking and there's no assurance of



                                             8
      Case 1:23-cv-00079-ABJ      Document 380       Filed 10/03/24    Page 9 of 11




      a settlement. There's simply no reason that the lawyers cannot file the
      required papers, while the clients explore settlement options. Given the
      decisions the Court needs to make and our fast-approaching trial date and
      required pretrial filings, we must continue on two tracks (and I know you
      understand that). Let's get Mr. Patterson's deposition rescheduled. Let's file
      our motion papers so Judge Johnson can begin to make the necessary pre-
      trial decisions. The motion to compel is a motion the MineOne Defendants
      will ask Judge Johnson to expedite [a] decision on since we need the
      withheld documents for our trial preparation. Please do not continue to stall
      your opposition papers on this motion.
See “Exhibit C.”

17.   Ms. Colbath dodged Mr. Murphy’s specific request that she (again) consent to

      pushing back the above-stated briefing deadlines by three weeks. And she provided

      no meaningful explanation for why these briefing deadlines should not be extended

      by three weeks.

18.   For all the reasons expressed in this Second Expedited Motion and the First

      Expedited Motion, BCB and its counsel are not able to write, finalize and file BCB’s

      thoughtful and complete dispositive motions by October 4, 2024. BCB and its

      counsel need three extra weeks – following completion of the Patterson, Li and Du

      depositions and receipt of Dr. Rengifo’s deposition transcript – to thoughtfully and

      fully brief BCB’s dispositive motions.


      WHEREFORE, in what once was – and still should be – an agreed and stipulated

request to push back the specific case deadlines in Paragraph 2 above, BCB and its counsel

respectfully request that the Court quickly enter its Order extending the aforementioned


                                            9
     Case 1:23-cv-00079-ABJ       Document 380      Filed 10/03/24    Page 10 of 11




specific briefing deadlines by three weeks. A [proposed] Order is attached for the Court’s

convenience.

      DATED this 3rd day of October 2024.

                                                BCB CHEYENNE LLC d/b/a
                                                BISON BLOCKCHAIN, Plaintiff

                                         By:    /s/ Patrick J. Murphy
                                                Patrick J. Murphy (WSB No. 5-1779)
                                                Scott C. Murray (WSB No. 7-4896)
                                                WILLIAMS, PORTER, DAY & NEVILLE, PC
                                                159 N Wolcott St. Suite 400
                                                Casper, WY 82601
                                                Ph: (307) 265-0700
                                                pmurphy@wpdn.net
                                                smurray@wpdn.net




                                           10
    Case 1:23-cv-00079-ABJ      Document 380      Filed 10/03/24      Page 11 of 11




                          CERTIFICATE OF SERVICE

     The undersigned does hereby certify that a true and correct copy of the foregoing
document was served upon counsel as indicated below this 3rd day of October 2024.

 Sean M. Larson, WSB No. 7-5112                [ ]   U.S. Mail (prepaid)
 Kari Hartman, WSB No. 8-6507                  [x]   CM/ECF Electronic Transmission
 HATHAWAY & KUNZ, LLP                          [ ]   Overnight Delivery
 P.O. Box 1208                                 [ ]   Hand Delivery
 Cheyenne, WY 82001                            [ ]   Electronic Mail
 slarson@hkwyolaw.com
 khartman@hkwyolaw.com

 Marc S. Gottlieb                              [ ]    U.S. Mail (prepaid)
 ORTOLI ROSENSTADT, LLP                        [x]    CM/ECF Electronic Transmission
 366 Madison Avenue, 3rd Floor                 [ ]    Overnight Delivery
 New York, NY 10017                            [ ]    Hand Delivery
 msg@orllp.legal                               [ ]    Electronic Mail

 Meggan J. Hathaway                            [ ]    U.S. Mail (prepaid)
 Jane M. France                                [x]    CM/ECF Electronic Transmission
 SUNDAHL, POWERS, KAPP & MARTIN, LLC           [ ]    Overnight Delivery
 500 W. 18th Street, Ste. 200                  [ ]    Hand Delivery
 Cheyenne, WY 82003                            [ ]    Electronic Mail
 mhathaway@spkm.org
 jfrance@spkm.org

 Paula Colbath, Pro Hac Vice                   [ ]    U S. Mail (prepaid)
 Alex Inman, Pro Hac Vice                      [x]    CM/ECF Electronic Transmission
 David Forrest, Pro Hac Vice                   [ ]    Overnight Delivery
 Leily Lashkari, Pro Hac Vice                  [ ]    Hand Delivery
 LOEB & LOEB LLP                               [ ]    Electronic Mail
 345 Park Avenue New York, NY 10154
 pcolbath@loeb.com
 ainman@loeb.com
 dforrest@loeb.com
 llashkari@loeb.com



                                       By:    /s/ Patrick J. Murphy
                                              Patrick J. Murphy



                                         11
